                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
VINCENT E. CHARLES,                            )
                                               )
                           Movant,             )
v.                                             ) Civil No. 13-01203-CV-W-FJG
                                               ) Crim. No. 09-0188-03-CR-W-FJG
UNITED STATES OF AMERICA,                      )
                                               )
                           Respondent.         )


                                       ORDER
      Pending before the Court is Movant’s Motion under 28 U.S.C. § 2255 to Vacate,
Set Aside, or Correct Sentence (Doc. No. 1, filed on December 2, 2013). Also pending
in the criminal matter is a pro se motion to vacate or in the alternative, request for
docket sheet (Doc. No. 848). As an initial matter, the second pro se motion to vacate or
request for docket sheet (Doc. No. 848) will be DENIED AS MOOT.
      On February 18, 2011, following a jury trial, movant was found guilty of Count
One of the superseding indictment, conspiracy to distribute five kilograms or more of
cocaine and 50 kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),
(b)(1)(A) and 846. On October 5, 2011, movant appeared before the district court for
sentencing, and was sentenced to 151 months’ imprisonment and five years’ supervised
release.   Movant appealed, arguing the evidence was insufficient to support the
conviction, and that the late disclosure of a witness was improper. The Eighth Circuit
affirmed the district court. United States v. Dunn, 723 F.3d 919 (8th Cir. 2013). The
Eighth Circuit denied rehearing on September 3, 2013.
      Movant asserts four grounds of ineffective assistance of counsel: (1) trial and
appellate counsel failed to properly argue and appeal movant’s actual innocence of
involved in a drug conspiracy; (2) counsel failed to advise movant, despite his actual
innocence, that the evidence against the other defendants was overwhelming, he had



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little chance of prevailing at trial, and counsel failed to negotiate a plea agreement; (3)
counsel failed to properly object to and appeal the drug quantity calculation used
movant for sentencing purposes, because the drug quantity was unsupported by facts
and untrustworthy; and (4) counsel failed to appeal the fact that an evidentiary hearing
necessary to resolve the issues raised on appeal, and the ineffective assistance of
counsel claims raised in this motion require an evidentiary hearing. See Doc. No. 1.
                                      STANDARD
       To establish a claim for relief based upon ineffective assistance of counsel,
movant must show that counsel failed to exercise the skill and diligence that a
reasonably competent attorney would have exercised under similar circumstances.
Thomas v. Lockhart, 738 F.2d 304, 307 (8th Cir. 1984). There is a Astrong presumption
that counsel=s conduct falls within the wide range of reasonable professional
assistance.@ Strickland v. Washington, 466 U.S. 668, 689 (1984). Movant must also
demonstrate that he was prejudiced by the alleged incompetence of counsel by showing
the existence of a Areasonable probability that, but for counsel=s unprofessional errors,
the result of the proceeding would have been different.@ Id. AA reasonable probability is
a probability sufficient to undermine confidence in the outcome.@ Id.


                                      JUDGMENT
       The Court has reviewed movant=s motion (Doc. No. 1), movant’s supporting
memorandum (Doc. No. 2), respondent=s opposition (Doc. No. 6), movant’s reply (Doc.
No. 8), and the record in the underlying criminal case, and finds that movant=s
are without merit for the reasons stated in respondent=s opposition. In particular, the
Court finds that (1) movant’s claim of actual innocence is not distinguishable from the
sufficiency-of-the-evidence claim raised on direct appeal, is not a separate constitutional
claim that can be raised in a non-capital case, and is refuted by the record; (2) movant

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cannot demonstrate that he would have entered into a plea agreement because such an
agreement was never formally offered, and this court would not have accepted a plea
where defendant would not admit to the factual basis for a guilty plea; (3) movant’s trial
counsel made objections to drug quantity, and appealed related issues, and therefore
movant cannot demonstrate error on counsel’s part or prejudice resulting from such an
alleged error; and (4) movant was not entitled to an evidentiary hearing on appeal, and
thus counsel was not ineffective on appeal in failing to seek such an evidentiary
       Therefore, movant=s amended motion to vacate, set aside or correct his sentence
pursuant to 28 U.S.C. ' 2255 (Doc. No. 1), filed December 2, 2013, is DENIED.
       No evidentiary hearing will be held in this matter because the issues raised are
resolvable by the record. Furthermore, movant will be denied a motion for certificate of
appealability, in that the issues raised are not debatable among reasonable jurists, nor
could a court resolve the issues differently.


       IT IS SO ORDERED.


Date: August 15, 2014                               S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                               Fernando J. Gaitan, Jr.
                                                    United States District Judge




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